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              Exhibit B
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                                                                      April 11, 2019

              By E-mail

              Special Master David Cohen
              Carl B. Stokes U.S.
              Courthouse
              801 West Superior Avenue
              Cleveland, OH 44113-1837
              david@specialmaster.law


                                  Re:       In re: National Prescription Opiate Litigation, MDL No. 2804 - Expert
                                            Data Deficiencies and Expert Deposition Dates

          Dear Special Master Cohen:

                   We write regarding critical deficiencies in Plaintiffs’ production of expert reliance
          materials and request an immediate order that Plaintiffs’ produce the required materials in full no
          later than Friday April 12. Absent this relief, Defendants and their experts cannot meaningfully
          prepare to take the depositions of these experts by April 26 as required.

                  Despite being ordered in CMO 8 to produce complete reliance materials for each expert by
          March 25, as of today -- 17 days after this deadline -- Plaintiffs have still failed to produce key
          reliance materials for many experts, including Dr. Jonathan Gruber, Dr. Meredith Rosenthal, and
          Dr. David Cutler. 1

                  Defendants have repeatedly followed up on these issues but as of today - almost three
          weeks after the Court-ordered deadline to produce such materials and with only two weeks left to
          take these depositions - Defendants do not have the data required to cross-examine and test these
          experts’ opinions.


          1
                 While you have been copied on correspondence between the parties regarding these deficiencies, the letters
                 reflect the outstanding data deficiencies are included in Exhibits 1-2. Deficiencies regarding the incomplete
                 productions for other of Plaintiffs’ experts are being separately addressed with Plaintiffs and we reserve all
                 rights with respect to those issues.



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         For example, Dr. Gruber’s and Dr. Cutler’s opinions depend on county level mortality data
Plaintiffs obtained from the National Center for Health Statistics. Plaintiffs use this data to evaluate
mortality rates at the county level attributable to opioids, which is a key input into their statistical
regression analyses. To date, however, Plaintiffs have not produced the full suite of county data
that is required for Defendants to replicate their analyses. Thus, since March 25 and continuing
until the present, Defendants have had no way to test the validity of the conclusions reached
through Dr. Cutler’s and Dr. Gruber’s statistical analysis. On April 8, Plaintiffs informed
Defendants that ability to access this data would require Plaintiffs to obtain approval from NCHS
to share this data and asked Defendants to identify “one representative to sign the applicable data
use agreement” to be able to share the data. This communication further represented that Plaintiffs
were “in process of communicating with NCHS to obtain a data use agreement for [Defendants]
to sign.” While Plaintiffs provided Defendants with a proposed data use agreement yesterday that
they claim will allow Defendants access to the missing data (see Exhibit 3), this data use agreement
contains four deficiencies that inhibit Defendants ability to sign this agreement:

   (1) The data use agreement would require Defendants and their experts to misrepresent to a
       government agency that they are members of the Pacific Institute for Research and
       Evaluation (PIRE), which they are not (and possibly Dr. Cutler and Dr. Gruber are not
       either).

   (2) The data use agreement only addresses 2014 mortality data, not all years at issue that Dr.
       Cutler and Dr. Gruber reference in their opinions.

   (3) The data use agreement restricts the use of data for a limited research purpose which might
       not contemplate this litigation. This should be clarified so the agreement clearly
       encompasses the litigation.

   (4) The data use agreement permits use of the data for only a year. Defendants would need the
       data to be useable through the trial and any appeal.

Defendant are willing to continue to work with Plaintiffs to get the data, including if necessary by
negotiating a truthful and effective data use agreement, but Plaintiffs have drawn a line in sand
and repeated their demand that we and our experts make misrepresentations to a government
agency. That is unacceptable. Given these significant issues, even if they can get ironed out,
further delay in Plaintiffs’ production of Dr. Cutler’s and Dr. Gruber’s reliance materials is likely.
Defendants will need at least seven to ten days from the time the data is eventually produced to
prepare to depose Dr. Cutler and Dr. Gruber.

        Similarly, on March 25, Plaintiffs produced 39 computer programs, which they claimed
would allow Defendants to replicate Dr. Rosenthal’s statistical models. When Defendants asked
Plaintiffs why these models did not actually create the model on which Dr. Rosenthal relies,
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Plaintiffs admitted that the programs they originally provided were wrong, and claimed that they
produced complete reliance materials on April 8. But again, this production was still incomplete.
For example, some of the revised files on which the corrected programs rely were not produced,
programs are still producing erroneous results, and raw data on which Dr. Rosenthal relies still has
not been produced. Defendants alerted Plaintiffs to these errors on April 9, and have still not
received a response from Plaintiffs. Dr. Rosenthal cannot be deposed until the week of April 22,
assuming these deficiencies are corrected by tomorrow.

        Given these deficiencies, Defendants cannot proceed with depositions for these witnesses
prior to the week of April 22, or we and our experts will be denied the ability to review and analyze
the data before depositions occur. We thus request that you order both the immediate production
of this data (no later than Friday April 12) and instruct Plaintiffs to provide dates for these experts
the week of April 22 (including two dates for any experts prioritized pursuant to the Court’s April
10 order). We are happy to participate in a call to discuss these issues further at your convenience.

                                                       Sincerely,

                                                       /s/ Donna M. Welch, P.C.

                                                       Donna M. Welch, P.C.
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                                                                    April 10, 2019

            By E-mail

            David Ko
            Keller Rohrback L.L.P.
            1201 Third Avenue, Suite 3200
            Seattle, Washington 98101
            dko@kellerrohrback.com


                                Re:       In re: National Prescription Opiate Litigation, MDL No. 2804 - NCHS
                                          Data Use Agreement for Dr. Cutler’s Reliance Materials

          Dear David:

                    I write in response to Plaintiffs providing Defendants with the National Center for Health
          Statistics Data Use Agreement for Vital Statistics Data Files (the “Data Use Agreement”) that
          would allow Defendants to access a critical data set underlying the opinions of Dr. David Cutler
          and Dr. Jonathan Gruber.

                   As a preliminary matter, the proposed data use agreement is nonresponsive to our request
          in at least four key areas: 1) the Data Use Agreement only addresses 2014 mortality data, not all
          years at issue that Dr. Cutler and Dr. Gruber reference in their opinions, 2) the express purpose of
          the Data Use Agreement is to restrict the use of data for a limited research purpose that does not
          contemplate this litigation, 3) the Data Use Agreement permits use of the data only by members
          of the Pacific Institute for Research and Evaluation (PIRE), which Defendants and their experts
          are not (and possibly Dr. Cutler and Dr. Gruber are not either), and 4) the Data Use Agreement
          permits use of the data for only a year, which given the earliest signature already has expired, while
          we would need the data to be useable through the trial and any appeal.

                  As mentioned, Plaintiffs have provided a Data Use Agreement that is between the National
          Center for Health Statistics and a requesting organization, PIRE. This Data Use Agreement is for
          2014 Mortality – All County (micro-data files) only. However, Dr. Cutler and Dr. Gruber are
          relying on NVSS restricted mortality data for 2005 – 2016. As such, Plaintiffs have not provided
          a data use agreement to confirm use for all years at issue. Further, as set forth in the Data Use
          Agreement, the exclusive use of the 2014 Mortality – All County (micro-data files) is to make


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aggregated injury- and substance-related mortality data available to state and federal Maternal and
Child Health Bureaus – not for any use or purpose for this litigation. Accordingly, please provide
Defendants with the portion of the Data Use Agreement that permits Plaintiffs (and therefore, will
permit Defendants) to use this data set for the purposes of litigation Given that our need for the
underlying data is related to the litigation and to confirm that the analysis of Dr. Cutler and Dr.
Gruber is correct, unless and until Plaintiffs explain these issues we are unable to have any expert
or consultant conduct such confirmation without access to the data – and Plaintiffs have not
provided any data use agreement to confirm such access or use of data is appropriate under this or
any other Data Use Agreement.

        Further, as this agreement indicates, Plaintiffs’ expert Ted Miller has had access to this
data since July 5, 2018 and Plaintiffs’ experts have presumably been working with this data set for
months. Plaintiffs knew that their deadline for producing all of Dr. Cutler’s and Dr. Gruber’s
reliance materials was March 25. Yet that deadline came and went without Plaintiffs ever once
mentioning the limitations on production of those reliance materials caused by the Data Use
Agreement. Indeed, Plaintiffs waited until Defendants asked for this missing data to even mention
the Data Use Agreement. We are now 16 days past the deadline for producing reliance materials
and learning for the first time the severe restrictions that exist on the use of a critical data set upon
which Dr. Cutler’s and Dr. Gruber’s expert opinions rely. The delay in providing this data, and the
further delay that will be caused by obtaining approval from NCHS for each of the Defendants to
access this data, is delay entirely of the Plaintiffs own making and could easily have been avoided
if Plaintiffs were forthright in the source of this data upfront and worked with Defendants to give
them access to this data as quickly as possible.

         Also potentially concerning is the fact that Plaintiffs’ objection to producing this data
appears to be inconsistent with Plaintiffs’ own actions. In your April 10 email, you state that “it is
critical to NCHS that any programmer, analyst, or other individual who electronically accesses
the raw data must review and sign the agreement.” (emphasis added) Despite Plaintiffs’ claim that
it is “critical” that “any” individual who electronically accesses this data must sign this data use
agreement, it doesn’t appear that Dr. Cutler or Dr. Gruber ever signed this data use agreement. By
your proffer of the Data Use Agreement, are you representing that all relevant staff supporting Dr.
Cutler and Dr. Gruber are members of PIRE and have signed the agreement? On its face, it appears
that another one of Plaintiffs’ experts, Ted Miller, is the party authorized to use this data. Is it your
representation, alternatively, that Dr. Miller provided Dr. Cutler and Dr. Gruber with this complete
data set in a manner that did not require Dr. Cutler or Dr. Gruber to sign this data use agreement?
If that is the case, Plaintiffs should be able to provide Defendants with a complete set of this data
in the same manner in which Plaintiffs provided this data to Dr. Cutler and Dr. Gruber without the
Defendants signing the Data Use Agreement. We expect Plaintiffs to do so immediately.
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       For the reasons set forth in this letter, and given that we still are missing critical data more
than 16 days after Plaintiffs were supposed to provide all expert backup materials, we will need to
discuss the timing of Dr. Gruber’s and Dr. Cutler’s depositions.



                                                       Sincerely,




                                                       /s/ Donna M. Welch, P.C.

                                                       Donna M. Welch, P.C.


cc:    Special Master Cohen
       Pete Weinberger (pweinberger@spanglaw.com)
       Andrea Bierstein (abierstein@simmonsfirm.com)
       Erin Dickinson (ekd@cruegerdickinson.com)
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                                                                         April 9, 2019

            By E-mail

            Pete Weinberger (pweinberger@spanglaw.com)
            Andrea Bierstein (abierstein@simmonsfirm.com)
            Erin Dickinson (ekd@cruegerdickinson.com)




                                    Re:       In re: National Prescription Opiate Litigation, MDL No. 2804 - Reliance
                                              Materials for Dr. Meredith Rosenthal

          Dear Pete, Andrea, and Erin:

                We have reviewed the supplemental reliance materials Plaintiffs provided for Dr. Meredith
          Rosenthal on April 8 and have identified several deficiencies in these materials.

                  First, four of the file names listed in the “Program running sequence new.pdf” document
          are indicated as revised, but the revised copy has not been provided by Plaintiffs. For example, the
          supplement references the program Identify_Defendant_Drugs_revised.sas but this file has not
          been provided by Plaintiffs. The original production contains only the similarly named file
          Identify_Defendant_Drugs.sas. Revised files that have not been produced include:

                              •     Identify_Defendant_Drugs_revised.sas

                              •     Prepare_Regression_data_revised.sas

                              •     Preferred_Model_Comcast_final_revised.sas

                              •     Timeline_DRAFT_FEB25_revised.sas

                  Second, the line numbers identified in the “Program edits.pdf” document do not correspond
          to the actual line numbers in three of the files Plaintiffs produced. For example, the
          Preferred_Model_Sensitivity_Time_Trend.sas script identifies a line replacement at line 170, but
          the program does not have a line 170 and the listed command is on line 152. This suggests that the



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programs used by Dr. Rosenthal’s team to run her calculations differ from the ones that have been
produced to Defendants. Files with different line numbers than indicated include:

           •    Identify_Defendant_Drugs_revised.sas

           •    Prepare_Aggregate_Price_Index_Attrib.sas

           •    Preferred_Model_Sensitivity_Time_Trend.sas

           •    Analysis_of_MAT_drugs.sas

        Third, the data production still lacks some of the necessary programs to translate the source
data into the final results. For instance, Dr. Rosenthal has produced as “raw data” an intermediate
file named cancer_deaths_by_county, but has not provided the source information or the programs
used to generate it. Files that appear to have been generated without corresponding programs
include:

           •    cancer_deaths_by_county.xlsx

           •    cancer_controls.dta

           •    mortality_counties.dta

           •    indirect_regression_data.dta

           •    shipments_all.dta

      Fourth, Dr. Rosenthal has also not produced the raw CDC SEER, HCUP-AHRQ, or AHRF
data   and     corresponding       interpolation   program    used   in   her   program
Appropriate_Uses_by_County_National_Table.sas, but rather manually enters the resulting
summary table as part of her code.

        Finally, there are multiple files that are referenced in the supplement with different
capitalization that the actual file names (e.g., Dr. Rosenthal lists attachment_tables_and_charts.sas
but has produced Attachment_Tables_and_Charts). Please confirm whether the listed file and the
actual file produced are identical; if not, please produce the correct file. Files with differing
capitalization include:

           •    attachment_tables_and_charts.sas

           •    attachment_C_tables_and_charts.sas
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           •    Runquit.sas

           •    Showdatainfo.sas

        Plaintiffs are required to produce all of Dr. Rosenthal’s reliance materials, not cherry-pick
reliance materials that are produced to Defendants. Plaintiffs’ failure to complete Dr. Rosenthal’s
production of reliance materials over two weeks after Plaintiffs were ordered to do so imposes
severe prejudice on Defendants. Given the continued deficiencies in Dr. Rosenthal’s reliance
materials, Defendants cannot depose Dr. Rosenthal until April 24 (assuming the data deficiencies
are resolved promptly), and, in the event the Court grants Defendants’ motion for additional
deposition questioning time Plaintiffs should provide Defendants with two consecutive dates that
Dr. Rosenthal is available the weeks of April 22 and April 29 that Dr. Rosenthal can sit for her
deposition.



                                                      Sincerely,




                                                      /s/ Donna M. Welch, P.C.

                                                      Donna M. Welch, P.C.


cc: Special Master Cohen
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